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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re:
                                                                       Case No. 16-25954- LMI
                                                                       Chapter 7
JORGE HANE,

              Debtor.               /

COLTEFINANCIERA, S.A. and                                              Adv. Pro. No. 17-01234-LMI
BLUE BANK INTERNATIONAL, N.V.,

              Plaintiff,

v.

JORGE HANE,

              Defendant.                /

                     MOTION FOR PARTIAL SUMMARY JUDGMENT

         Defendant Jorge Hane (the “Defendant”) files this Motion for Partial Summary Judgment

as to Count I of Plaintiff Blue Bank International, N.V.’s (“Blue Bank”) Amended Complaint for

Determination of Dischargeability and Objecting to Debtor’s Discharge pursuant to Sections 523

and 727 of the Bankruptcy Code. In support of the instant Motion, the Defendant submits the

following:

             Exhibit A. Affidavit of Jorge Hane (the “Hane Affidavit”).

             Exhibit B. Plaintiffs’ Amended Complaint (D.E. #32).

             Exhibit C. Transcript of February 2, 2018 deposition of Carlos Zambrano as corporate

                           representative of Blue Bank pursuant to Fed.R.Civ.P. 30(b)(6).

             Exhibit D. Transcript of April 24, 2018 deposition of Nelson Mezerhane.

             Exhibit E. The Defendant’s First Set of Interrogatories to Blue Bank (the “Blue Bank

                           Interrogatories”).


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           Exhibit F. Blue Bank’s Response to the Blue Bank Interrogatories (the “Blue Bank

                         Interrogatory Response”).

           Exhibit G. Email dated October 29, 2015 from Jorge Hane to Nelson Mezerhane1.

           Exhibit H. Email dated November 4, 2015 at 7:22 p.m. from Jorge Hane to Cornelius

                         Rojer.

           Exhibit I. Email dated November 4, 2018 at 8:29 p.m. from Jorge Hane to Cornelius

                         Rojer.

In further support of the instant Motion, the Defendant states as follows:

                                           I.       INTRODUCTION

       The Plaintiff filed this adversary proceeding alleging that the Defendant made material

misrepresentations about his and his corporation’s financial condition to obtain a business loan

from Blue Bank. Based on these allegations, Count I of the Amended Complaint objects to the

dischargeability of the Defendant’s debts to Blue Bank under 11 U.S.C. §523(a)(2)(A). In Appling

v. Lamar, Archer & Cofrin, LLP (In re Appling), 848 F.3d 953, 956 (11th Cir. 2017), affirmed in

Lamar, Archer & Cofrin, LLP v. Appling, 2018 U.S. LEXIS 3383 (June 4, 2018), the 11th Circuit

held that a debtor’s statements respecting his/her financial condition may not be relied upon as the

basis to object to the debtor’s discharge under §523(a)(2)(A) and may only be the basis for such

an objection under §523(a)(2)(B). Therefore, Blue Bank cannot legally sustain its claim under

§523(a)(2)(A) summary judgment should be entered in favor of the Defendant on Count I.

       To the extent the Court is willing to consider Blue Bank’s allegations in Count I under 11

U.S.C. §523(a)(2)(B), the Amended Complaint and subsequent discovery responses identify three

written communications by the Defendant which Blue Bank contends were materially misleading.

However, as detailed below, these communications cannot conceivably give rise to a non-

dischargeability finding– one communication was written to an individual Blue Bank concedes



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       The Debtor has ordered a certified translation of the emails and will file same with the Court if necessary.
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was not acting on Blue Bank’s behalf and the others were miscellaneous internet postings which

Blue Bank searched for and identified on its own and were not made by the Debtor to Blue Bank.

In light of the foregoing, summary judgment for the Defendant is appropriate.

                          II.    STATEMENT OF UNDISPUTED FACTS

       A.        Background

       1.        The Defendant commenced his underlying bankruptcy case (Case No. 16-25954-

LMI) (the “Main Bankruptcy Case”) by filing a voluntary petition for relief under Chapter 7 of the

Bankruptcy Code on March 4, 2016 (the “Petition Date”). Amended Complaint, ¶1.

       2.        Prior to the Petition Date, the Defendant was involved in the sale of weight loss

and health supplements. Hane Affidavit, ¶4.

       3.        To operate his business, the Defendant utilized a Florida corporation named

JorgeHane Laboratories Corp. (“JorgeHane Laboratories”). JorgeHane Laboratories in turn owned

a Colombian subsidiary through which products were sold and business was transacted. Hane

Affidavit, ¶5.

       4.        On November 4, 2015, JorgeHane Laboratories took out a $300,000.00 business

loan from Blue Bank. Amended Complaint, ¶9a; Hane Affidavit, ¶6.

       5.        The Blue Bank loan was personally guaranteed by the Defendant. Amended

Complaint, ¶9b. In connection with the Blue Bank loan, the Defendant completed a financial

application and submitted backup information about himself and JorgeHane Laboratories. Hane

Affidavit, ¶6.

       6.        In May 2016, JorgeHane Laboratories defaulted on the Blue Bank loan. Amended

Complaint, ¶9e.

       B.        Non-Dischargeability Allegations

       7.        Count I of the Amended Complaint seeks a judgment of nondischargeability of the

Debtor’s guaranty of the Blue Bank loan under §523(a)(2). As a basis for relief, the Amended

Complaint alleges that the Defendant committed actual fraud under §523(a)(2)(A).
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        8.    On January 9, 2018, the Defendant served the Blue Bank Interrogatories upon Blue

Bank.

        9.    On January 26, 2018, Blue Bank served the Blue Bank Interrogatories Response.

        10.   Interrogatory No. 5 states as follows: “Please identify each and every false

statement (written or otherwise) which [Defendant] made to Blue Bank concerning the Blue Bank

Loans and include therein, each and the date, type of communication and the parties to such

communication.” Blue Bank Interrogatories, p.4.

        11.   Blue Bank responded to this Interrogatory as follows:

              On October 29, 2015, HANE sent an email to BLUE BANK,
              in connection with his application for a $300,000 loan.
              Among other things, the email falsely stated that HANE’s
              “full line of weight loss products” and dietary supplements
              are sold in “approximately 45,000 drugstores in 9 countries
              in Latin America” and “Reduce Fat-Fast and Jorge Hané
              himself are brands very well branded in practically all of
              South America, and some countries in the Caribbean,
              Europe, Asia and South Africa.” There was no mention of
              the Colombian government prosecution (pending since
              2012) that would lead the company to be assessed a fine and
              seek bankruptcy protection a few months later. He also
              falsely and affirmatively stated in the same communication
              that his product Reduce Fat-Fast “has helped millions of
              people around the world achieve their desired weight loss”
              and omitted the material fact that he was falsely advertising
              his products.

              On or about November 4, 2015, HANE provided further
              written information to BLUE BANK falsely stating that
              HANE (the sole owner and director of his U.S. company
              JorgeHane Laboratories Corp) distributed his products at
              over 30,000 points of sale (mostly pharmacies), had a
              laboratory in Buenos Aires and that his company was then
              operating in at least eleven countries. This was further
              confirmed by HANE’s misleading email signature that
              included this website and a list of various Latin American
              countries under his name. HANE further stated that his U.S.
              company had assets exceeding $2.5 million at the end of
              both 2013 and 2014, implying that it had sufficient collateral
              for the $300,000 loan. There was no mention of the


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              Colombian government prosecution, even though it had
              been underway since May 2012.

              At all relevant times between August and December 2015,
              when Blue Bank checked HANE’s online presence before
              approving the loans, HANE also made these or similar
              written representations on his websites “reducefatfast.com,”
              “jorgehanelaboratories.com”        and      “jorgehane.com,”
              particularly that HANE himself possessed a distribution
              network for the company’s products of more than 100,000
              pharmacies in Argentina, Colombia, Costa Rica, El
              Salvador, Honduras and Guatemala; and that JorgeHane
              Laboratories Corp. in the United States was its supplier.
              These websites were full of false advertising claims, as later
              established by the Colombian government. HANE failed to
              disclose this material information to Blue Bank, even though
              HANE knew that he was falsely advertising his products,
              that the Colombian government began its false advertising
              case in 2012, and that the Colombian government was about
              to assess a fine, seize HANE’s products and send HANE’s
              Colombian company into dissolution.

       12.    To summarize, Blue Bank identifies three false statements which form the basis of

its §523 claim: the October 29, 2015 email to Blue Bank (the “October 29 Email”), the “written

information” provided by the Defendant on November 4, 2015 to Blue Bank (the “November 4

Correspondence”) and facts found by Blue Bank when it “checked Hane’s online presence” (the

“Blue Bank Google Searches”).

              (i)     The October 29 Email

       13.     The October 29 Email was an email written by the Defendant to Nelson Mezerhane

(“Mezerhane”) and Violy McCauseland of Violy & Company (“Violy”). Hane Affidavit, ¶7;

October 29 Email, p.1. The Email was a one sentence message stating ““Hola Nelson, Te envio un

poco mas de informacion sobre jorgehane laboratories y Jorge Hane. Abrazo! Jorge.” This

translates as “Hi Nelson, I send you a little more information about Jorge Jane Laboratories and

Jorge Hane. Hug! George”. Attached to the October 29 Email was a CV for the Defendant, which



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Blue Bank alleges contains the false allegations referenced in the Amended Complaint and in the

Blue Bank Interrogatory Response; Hane Affidavit ¶8.

       14.     Mezerhane is a shareholder of Blue Bank and was a close personal friend of the

Defendant. Hane Affidavit, ¶9; Mezerhane Dep. 14:13-15 and 25:5-6.

       15.     Prior to the issuance of the Blue Bank loans, the Defendant’s Columbian business

had a factoring loan with Coltefinanciera, S.A. (“Colte”), another lending institution in which

Mezerhane is a shareholder. In the summer of 2015, that loan had gone into default. To assist the

Colombian entity in finding a new outside investor or buyer and to rescue the Colte loans,

Mezerhane introduced the Defendant to Violy. Violy was a financial advisor Mezerhane had

previously worked with. Hane Affidavit, ¶10. Mezerhane Dep. 36:10-37:6.

       16.     According to Blue Bank and Mezerhane, Mezerhane is a passive shareholder who

is not on the bank’s credit committee, has no specific role at the bank and does not make credit

decisions. Blue Bank Dep. 35:15-25 – 36: 1-4.

       17.     Blue Bank’s corporate representative testified that Mezerhane did not play a role in

its assessment of the Defendant or JorgeHane Laboratories’ creditworthiness. Blue Bank

Transcript Blue Bank Dep. 120:14-121:1 (stating that Blue Bank did not issue loans based on

Mezerhane’s recommendations because “the Central Bank authorities [of Curucao] do not allow

that, that we issue credits without doing the due diligence and just following the recommendation

of a person that is known to the bank.”).

       18.     Blue Bank’s corporate representative also specifically testified that when

Mezerhane received the October 29 Email, he did not receive it on behalf of Blue Bank. See Blue

Bank Dep. 93:1-2 (“Q. So when Mr. Mezerhane received this email, he received it on behalf of

Blue Bank? A. No.”).

       19.     Mezerhane himself concurred that he is not an officer or director of Blue Bank, has

no involvement in credit decisions for Blue Bank, does not serve on the credit committee and did
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not dictate Blue Bank’s decision to extend credit to JorgeHane Laboratories. Mezerhane Dep.

21:24-22:12 and 43:25-44:6 (stating “I only recommended [Defendant] as a friend for them to

analyze the credit through their bank.”)

         20.      To summarize, based on the admissions of Blue Bank and Mezerhane in their

depositions (a) Mezerhane had no involvement in Blue Bank’s assessment of JorgeHane

Laboratories’ creditworthiness and did not otherwise participate in the due diligence process; and

(b) the Defendant’s communications to Mezerhane are not communications to Blue Bank for the

purposes of due diligence.2

                  (ii)     The November 4 Correspondence

         21.      On November 4, 2018, Hane sent two emails to Blue Bank President Cornelius

Rojer (‘Rojer”): one email at 7:22 p.m. attached hereto as Exhibit J (the “First November 4 Email”)

and a second email at 8:29 p.m. attached hereto as Exhibit K (the “Second November 4 Email”).

Hane Affidavit, ¶11.

         22.      The First November 4 Email states as follows:

                  Sr. Rojer,
                  Por medio de la presente carta le solicito un Prestamo de
                  US$300.000
                  Acepto los intereses del 10% annual , con pago de intereses
                  mensuales.
                  Puede usted contar como garantia del mismo , mi aval
                  personal.
                  Me comprometo como minimo una primera amortizacion
                  del 25% del capita adeudado para que asi me puedan
                  renovar, si yo lo solicito, el saldo remanente al final de ese
                  period de un ano.
                  Por favor me avisa cuando esta dicho dinero disponible en
                  mi cuenta., para poder hacer algunas transferencias. Tengo
                  entendido que seria hoy o a mas tardar manana.
                  Muchas gracias.

This translates as


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           Defendant does not necessarily agree with these assertions and, if this Motion is denied, may challenge them
at trial. However, the testimony of Blue Bank and Mezerhane cannot now be credibly disavowed by them, and for the
reasons detailed below, is alone sufficient grounds for the Court to grant summary judgment.
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               Mr. Rojer,
               Through this letter I request a loan of US $ 300,000
               I accept 10% annual interest, with monthly interest
               payments.
               You can count as my guarantee, my personal guarantee.
               I am committed as a minimum a first amortization of 25% of
               the capital owed so that they can renew me, if I request it,
               the remaining balance at the end of that period of one year.
               Please notify me when said money is available in my
               account, to be able to make some transfers. I understand that
               it would be today or at the latest tomorrow.
               Thank you very much.

       23.     The Second November 4 Email states

               Sr. Rojer,
               Por medio de la presente le solicito constituya un certificado
               de deposito de $100.000 por 30 dias. Posteriormente le dare
               instrucciones acerca del uso de este dinero.
               Le agradezco me informe cual es el interes que su banco me
               pagara a cambio de este certificado de deposito.
               Muchas gracias.,

This translates as:

               Mr. Rojer,
               By means of this I request you to constitute a deposit
               certificate of $ 100,000 for 30 days. Later I will give you
               instructions about the use of this money.
               I thank you for informing me of the interest that your bank
               will pay me in exchange for this deposit certificate.
               Thank you very much.

       24.     Both emails contained the Defendant’s standard email signature, which was used

on each and every email sent by the Defendant from his business email account. This included the

following set of images:




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Hane Affidavit, ¶12.

       25.     The email signature essentially contained the Defendant’s contact information and

a list of the countries in which the Defendant and his companies had done business at various

points. At no point did the Defendant direct or invite Blue Bank to consider the email signature as

part of its due diligence or as a statement regarding his financial condition upon which Blue Bank

may rely. Hane Affidavit, ¶ 13.

       26.     To the extent that the email signature actually provides financial information, it

only makes reference to the countries in which the Defendant’s weight loss products were sold in

South and Central America. These statements are true. Hane Affidavit, ¶ 14.

               (iii)   The Blue Bank Google Searches

       27.     The Blue Bank Interrogatory Response states that “Blue Bank checked [the

Defendant’s] online presence before approving the loans.” Neither this response nor any testimony

from Blue Bank’s representative ever identified a single online statement which Blue Bank relied

on.

       28.     In Blue Bank’s response to the Defendant’s Request for Production of Documents,

Blue Bank delivered a Dropbox folder entitled “Webpages.” The folder contained a selection of

online material, all of which appears to have been created after the Blue Bank loans were issued.

Specifically, the material is either undated or has date stamps dated in 2016, 2017 or 2018 which

is after the Blue Bank loan issued in 2015. Moreover, most of the material was not created by the

Defendant but by third party news organizations. Hane Affidavit, ¶15.
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       29.     At no point prior to the loans did the Defendant instruct or direct Blue Bank to

obtain due diligence information from the internet nor did the Defendant or his companies create

the content specifically for Blue Bank. Hane Affidavit, ¶16.

       30.     Accordingly, to the extent Blue Bank did actually perform the Blue Bank Google

Searches, it did so on its own initiative. This was confirmed by Blue Bank’s corporate

representative at his deposition in the following exchange:

               Q.      …In terms of the false statements that Blue Bank
                       alleges Mr. Hane made in connection with the
                       loans….What other false representations did Mr.
                       Hane make?

               A.      When I reviewed the credit file, it reflects the
                       different documents that were obtained through the
                       internet about the companies of the group Jorge
                       Hané, the ones that were successful and the
                       expectations that the company had about the near
                       future. And they reflect constantly the growth of the
                       product that they are producing.

               Q.      Okay. And these were internet searches conducted by
                       the credit manager?

               A.      Within the procedures of following the companies, it
                       is included or contemplated that you should do a
                       follow up of information through the web.

Blue Bank Dep. 73:23-74:13.

                              III.    MEMORANDUM OF LAW

       A.      Legal Standard for Summary Judgment

      A court should enter summary judgment "if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

of law." See Fed. R. Civ. P. 56(c) (made applicable to this proceeding by Fed. R. Bankr. P. 7056).

A party moving for summary judgment bears the initial burden of showing that there are no


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genuine issues of material fact that should be decided at trial. When that burden has been met, the

burden shifts to the non-moving party to demonstrate the existence of a material issue of fact that

precludes summary judgment. Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991).

      “The mere existence of a scintilla of evidence in support of the non-moving party's position

is not sufficient" to avoid summary judgment. Triton Energy Corp. v. Square D Co., 68 F.3d 1216,

1221 (9th Cir. 1995). Factual disputes whose resolution would not affect the outcome of the suit

are irrelevant to the consideration of a motion for summary judgment. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248, 91 L. Ed. 2d 202, 106 S. Ct. 2505 (1986). In other words, "summary

judgment should be granted where the nonmoving party fails to offer evidence from which a

reasonable jury could return a verdict in its favor." Triton Energy, 68 F.3d at 1222.

       B.      §523(a)(2)(A) Does Not Apply to this Proceeding

       Blue Bank’s Amended Complaint styles itself as an action under 11 U.S.C. §523(a)(2)(A).

Paragraph 5 of the Amended Complaint explains that “this is an adversary proceeding in which

the PLAINTIFFS… are seeking a determination as to the dischargeability of the debt owed by the

Debtor to PLAINTIFFS under Bankruptcy Code § § 523(a)(2)(A).” Similarly, the title portion of

the non-dischargeability Count of the Complaint (Count I) seeks relief only under §523(a)(2)(A).

       As detailed above, the allegations of the Amended Complaint themselves are essentially

that the Defendant provided false information concerning himself and his companies to Blue Bank

in order to induce Blue Bank to issue loans to JorgeHane Laboratories. The Amended Complaint

alleges numerous non-written misrepresentations and concealments in this regard as well as the

three written misrepresentations also contained in the Blue Bank Interrogatory Response.

However, as detailed below, the law is now settled that Blue Bank cannot obtain a judgment of

non-dischargeability under §523(a)(2)(A) under the present facts.

       11 U.S.C. §523 provides in relevant part as follows:
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               (a) A discharge does not discharge an individual debtor
               from any debt--
               (2) for money, property, services, or an extension, renewal,
               or refinancing of credit, to the extent obtained by--
               (A) false pretenses, a false representation, or actual fraud,
               other than a statement respecting the debtor's or an insider's
               financial condition;
               (B) use of a statement in writing--
               (i) that is materially false;
               (ii) respecting the debtor's or an insider's financial
               condition;
               (iii) on which the creditor to whom the debtor is liable for
               such money, property, services, or credit reasonably relied;
               and
               (iv) that the debtor caused to be made or published with
               intent to deceive;

As explained by the 11th Circuit Court of Appeals, the Bankruptcy Code “treats debts incurred by

a statement ‘respecting the debtor’s financial condition’ differently from other debts.” Appling v.

Lamar, Archer & Cofrin, LLP (In re Appling), 848 F.3d 953, 956 (11th Cir. 2017), affirmed in

Lamar, Archer & Cofrin, LLP v. Appling, 2018 U.S. LEXIS 3383 (June 4, 2018). All fraud other

than a statement respecting the debtor’s financial condition is treated by §523(a)(2)(A) and

accordingly, so long as a creditor can demonstrate reasonable reliance “a debtor cannot discharge

a debt obtained by any type of fraudulent statement, oral or written.” Appling, 848 F. 3d at 956.

But “if a statement is made ‘respecting the debtor’s financial condition’ then [§523(a)(2)(B)]

governs” and “to avoid discharge…a creditor must show reasonable reliance and that the statement

was intentional, materially false, and in writing.” Id. at 957. Accordingly, “a debt incurred by an

oral, fraudulent statement respecting the debtor's financial condition can be discharged in

bankruptcy.” Id.

       In Appling, the 11th Circuit ruled that if the alleged misrepresentation concerns even a

single asset of the debtor’s then the stricter provisions of §523(a)(2)(B) apply and, to be excepted

from discharge, the statement must be in writing. Id. at 958-59. The 11th Circuit based this


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determination on the plain meaning of the statute, Id. at 958-60, and a “perfectly sensible” policy

consideration requiring offensive statements be in writing to promote accuracy and predictability

in bankruptcy disputes. Id. at 960. Accordingly, a plaintiff seeking non-dischargeability based on

misrepresentations concerning a debtor’s financial condition cannot advance a case under

§523(a)(2)(A). See Material Prods., Int'l, Ltd. v. Ortiz (In re Ortiz), 441 B.R. 73, 80-81 (Bankr.

W.D. Tex. 2010) (granting debtor judgment on the pleadings when plaintiff filed an adversary

under §523(a)(2)(A) alleging debtor unstated encumbrances on assets). As noted above, the 11th

Circuit’s Appling decision was recently affirmed by the United States Supreme Court.

       Blue Bank alleges that the Defendant made material misrepresentations concerning his and

his companies’ financial condition in order to obtain the Blue Bank loans. Under Appling a creditor

cannot be afforded relief under §523(a)(2)(A) under such circumstances. Accordingly, since the

Amended Complaint expressly seeks relief only under §523(a)(2)(A), summary judgment in favor

of the Defendant is appropriate.

       C.      The Alleged Written Misrepresentations Cannot Support a Judgment of
               Nondischargeability

       Even though Blue Bank expressly seeks relief only under §523(a)(2)(A), the Amended

Complaint and the Blue Bank Interrogatory Response do reference certain writings. Should the

Court elect to consider these writings under §523(a)(2)(B) (although such a claim is now time

barred), as detailed below, summary judgment in favor of the Defendant is nonetheless

appropriate.

       The elements of §523(a)(2)(B) are that

               1) The Debtor made materially false representations in
               writing respecting the Debtor's financial condition;

               (2) The Debtor knew the representations were false at the
               time that they were made;

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               (3) The Debtor made the representations with the intention
               and purpose of deceiving the creditor;

               (4) The Creditor reasonably relied upon the Debtor's
               materially false representations; and

               (5) The Creditor sustained loss and damages as the
               proximate result of the misrepresentations.

In re Gilman, 31 B.R. 927 (Bankr. S.D. Fla. 1983). See also In re Siriani, 967 F.2d 302 (9th Cir.

1992) (noting that the elements trace §523(a)(2)(A) but include the requirement that the

misrepresentation be in writing). Neither the October 29 Email, the November 4 Correspondence

or the products of the Blue Bank Google Research meet these elements.

       (i) The October 29 Email

       The October 29 Email from the Defendant to Mezerhane was, by Blue Bank’s own

admission, not an email provided to Blue Bank for the purposes of due diligence. Indeed, Blue

Bank went to extreme efforts to distance Mezerhane from Blue Bank’s lending practices, noting

repeatedly in depositions that Mezerhane only referred the Defendant but did not play any role in

Blue Bank’s due diligence. Similarly, Mezerhane himself repeatedly testified that he was not

involved in Blue Bank’s lending practices. Accordingly, Blue Bank will not be able to meet the

requirement that the allegedly false correspondence was the “proximate cause” of its losses. See

James v. West (In re West), 2017 Bankr. LEXIS 52, *68 (Bankr. W.D. Mis. February 24, 2017)

(noting “[p]roximate cause requires that a creditor would not have suffered the loss at issue but for

a debtor's (or a debtor's agent's) actions. It also requires a creditor to prove that their loss was a

foreseeable result of a misrepresentation.”). It is simply not credible for Blue Bank to claim that

Mezerhane had no role in due diligence and at the same time claim that an email to him was the

proximate cause of its damages.




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       Moreover, as noted above, it is not disputed that the October 29 Email was sent to

Mezerhane and Violy in connection with the ongoing restructuring of the Colte loans and in order

to help the Defendant find new investors for his companies. As stated in the Mezerhane deposition:

“Q. Okay. Why did you refer Mr. Hane to Violy? A. Because Mr. Hane wanted to open a new

market and he wanted to better his companies.” Mezerhane Dep. 37:4-6. Accordingly, not only

was the October 29 Email not sent to Blue Bank but it was sent for a purpose entirely unrelated to

the Blue Bank Loan. Accordingly, it cannot satisfy the element of §523(a)(2)(B) requiring that

false communications be sent with the intention to deceive the creditor nor can Blue Bank

conceivably claim that it reasonably relied upon the email.

       (ii)    The November 4 Correspondence and the Blue Bank Google Searches

       The November 4 Correspondence and the Blue Bank Google Searches will also not be able

to satisfy the elements of §523(a)(2)(B). The allegedly false information was contained in internet

postings posted to the general public and clearly not provided to Blue Bank as due diligence for

the Blue Bank loans. Blue Bank cannot conceivably demonstrate that the information was provided

with the specific intent to deceive Blue Bank into issuing loans.

       (iii)   Reasonable Reliance

       Blue Bank will also not be able to satisfy the element of reasonable reliance.

“To determine whether a creditor was reasonable in its reliance, a court must consider the totality

of the circumstances.” In re Eckert, 221 B.R. 40, 44-45 (Bankr. S.D. Fla. 1998) (citing cases and

identifying factors for a court to consider). Among the factors is “the sophistication of the parties”

and “the amount of money involved. The more money there is at stake, the more investigation is

required.” Id. at 45. For Blue Bank to prevail, it will have to show that a financial institution

reasonably relied on a one sentence email (the October 29 Email), an email signature (the

November 4 Correspondence) and miscellaneous internet research (the Blue Bank Google
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Searches) in deciding to loan $300,000 to Jorgehane Laboratories. In ruling on summary judgment,

the Court must find that there is evidence on which a trier of fact could “reasonably find for the

nonmoving party.” Triton Energy Corp., 68 F.3d at 1221. Blue Bank’s claims do not meet this

standard with respect to the reasonable reliance element of §523(a)(2)(B).

                                        IV.        CONCLUSION

       There is no reason the Defendant should be forced to try Blue Bank’s §523 claims. The

Defendant provided Blue Bank with a financial statement, tax returns and extensive financial

information. The Blue Bank Interrogatory Response does not identify any of these documents as

containing material misrepresentations. Instead, it relies on the three written items referenced

above, none of which could conceivably satisfy the elements of §523(a)(2)(B). Accordingly,

summary judgment in favor of the Defendant is appropriate.

       WHEREFORE, the Defendant requests the Court enter summary judgment in its favor on

Count I of the Amended Complaint and grant such further relief as is deemed just and proper.

                        Attorney’s Local Rule 2090-1(A) Certification

       I hereby certify that I am admitted to the Bar of the United States District Court for the

Southern District of Florida and I am in compliance with the additional qualifications to practice

in this Court set forth in Local Rule 2090-1(A).


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                                        Certificate of Service

       I hereby certify that a true and correct copy of the foregoing was served via CM/ECF to

Brian J. Recor, Esq. on July 6, 2018.

                                               /s/ Michael S. Hoffman
                                               Michael S. Hoffman




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